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                                                  District of Connecticut
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                United States of America
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                         Plaintiff                            )                                  Ffi*&, {Fr}R i t"i
                                                              )                            3:18-CR-00095-SRU-1
                                                              )      Case No

                    Yehudi Manzano                            )
                                                              )
                        Deþndant

                                             NOTICE OF'APPEARANCE

To       The clerk ofcourt and all parties ofrecord

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                                                      Yehudi Manzano



Date:
                     0slt5l20l8
                                                                                         Attorney's signature

                                                                     Norman A. Pattis 408681
                                                                                    Printed name and bar number


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                                   CERTIFICATE OF SERVICE


I hereby certify that on
                              0511412018
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